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 1   ALBERT E. PEACOCK III, CASB No. 134094
 2   apeacock@peacockpiper.com
     GLEN R. PIPER, CASB No. 204023
 3   gpiper@peacockpiper.com
 4   DAVID A. TONG, CASB No. 238971
     dtong@peacockpiper.com
 5   MARGARET STANDO, CASB No. 343038
 6   mstando@peacockpiper.com
     PEACOCK PIPER TONG + VOSS LLP
 7   100 W. Broadway, Suite 610
 8   Long Beach, CA 90802
     Telephone: (562) 320-8880
 9   Facsimile: (562) 735-3950
10
11   Attorneys for Plaintiff,
     CAPETANISSA MARITIME CORPORATION
12
13                            UNITED STATES DISTRICT COURT
14          CENTRAL DISTRICT OF CALIFORNIA -WESTERN DIVISION
15   In re the Matter of the Complaint of          Case No.
16   CAPETANISSA MARITIME                          Action Filed:
     CORPORATION, Owner of the Motor
17   Vessel BEIJING, and her engines, tackle,      CAPETANISSA MARITIME
18   apparel, and appurtenances, for Exoneration   CORPORATION’S COMPLAINT
     from, or Limitation of, Liability,            FOR EXONERATION FROM, OR
19                                                 LIMITATION OF, LIABILITY
20               Plaintiff,
                                                   [46 U.S.C. §§ 30502, et seq. and
21                                                 Federal Rule of Civil Procedure,
22                                                 Supplemental Rule F]
23                                                 IN ADMIRALTY
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 1           CAPETANISSA MARITIME CORPORATION, on its behalf and on behalf of
 2   its officers, employees, crew, agents, and managers (“Plaintiff”), as the Owner of the
 3   Motor Vessel BEIJING (the “Vessel,” or the “BEIJING”), by and through its
 4   undersigned attorneys, PEACOCK PIPER TONG + VOSS LLP, files this complaint for
 5   the purpose of initiating an action in which it seeks exoneration from, or in the
 6   alternative, limitation of its liability, either civil or maritime, in relation to the incidents
 7   described and alleged more fully herein. Plaintiff’s complaint (“Complaint” or
 8   “Action”) is filed pursuant to the Limitation of Liability Act of 1851, 46 U.S.C.
 9   §§30501, et. seq. (the “Limitation Act”). Furthermore, this Complaint is filed within
10   the admiralty or maritime jurisdiction of this Court. Consequently, there is no right to a
11   jury.
12   I.      INTRODUCTION
13           This Action arises from the October 2, 2021, oil spill off the coast of Huntington
14   Beach, California from Pipeline P00547 (the “Amplify Oil Spill”). The Pipeline
15   P00547 (the “Pipeline”) was owned by San Pedro Bay Pipeline Company (“SPBPC”),
16   a wholly owned subsidiary of Amplify Energy Corporation (“Amplify Energy”). The
17   42-year-old Pipeline transports oil from a processing platform (“Elly”), which is owned
18   and operated by another Amplify Energy wholly owned subsidiary, Beta Operating
19   Company, LLC (“Beta Offshore,” together with Amplify Energy and SPBPC, the
20   “Amplify Defendants”). The Pipeline and Elly, along with two other platforms, make
21   up the “Beta Unit Complex.” Amplify Energy was the designated “Responsible Party”
22   for the Amplify Oil Spill under the Oil Pollution Action of 1990, 33. U.S.C. §§ 2701, et
23   seq. (“OPA”).
24           In the wake of the Amplify Oil Spill, the Amplify Defendants were criminally
25   indicted in December 2021 for failing to properly respond to eight (8) separate alarms
26   from the Pipeline’s automated leak detection system, overriding the system, restarting
27   and continuing to pump oil through the Pipeline in the face of the alarms, and
28   understaffing the Elly platform with fatigued and undertrained personnel.
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 1         The Amplify Oil Spill gave rise to fourteen separate class actions, which were
 2   consolidated in the matter of Gutierrez, Jr. et. al., v. Amplify Energy Corp., et al., Case
 3   No. 8:21-cv-01628-DOC-JDE (the “Gutierrez Case”). Plaintiff is among the several
 4   named defendants in the Gutierrez Case, as are the Amplify Defendants who, in turn,
 5   filed a verified Third-Party Complaint against Plaintiff and other parties (the “Verified
 6   Amplify Complaint”). Both the operative, amended complaint in the Gutierrez Case
 7   (the “Gutierrez FAC”) and the Verified Amplify Complaint make several claims
 8   against Plaintiff, none of which withstand even the slightest examination or scrutiny.
 9         Most critically, the Gutierrez FAC’s and the Verified Amplify Complaint’s
10   central theory of liability against Plaintiff is that the crack in the Pipeline from which
11   the Amplify Oil Spill flowed in early October 2021 was caused when the Pipeline was
12   struck by the anchor of the containership owned by Plaintiff, the “BEIJING” or the
13   “Vessel,” and/or another vessel – eight months earlier on January 25, 2021, during an
14   extreme weather event, where the winds reached fifty miles per hour and the seas
15   climbed to seventeen feet (the “Heavy Wind Event,” see infra § IV.D.2.)(see Gutierrez
16   FAC, ¶ 69; see also Verified Amplify Complaint, ¶ 101.)
17         As an initial matter, all the allegations concerning the BEIJING’s contact with
18   the Pipeline are speculative and conjectural. (See e.g., Gutierrez FAC, ¶ 42 (“…on
19   information and belief, the anchor-dragging incident damaged the subject pipeline”);
20   see also Verified Amplify Complaint, ¶ 92.) The only “evidence” alleged by the Class
21   Action Plaintiffs and the Amplify Defendants is “AIS” data1 purporting to show the
22   BEIJING crossing over the Pipeline during the Heavy Wind Event. (Gutierrez FAC,
23   Image 10; Verified Amplify Complaint, ¶ 89.)
24   ///
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            A commercial vessel’s AIS “…provides vessel information, including the
26   vessel’s identity, type, position, course, speed, navigational status, and other safety-
27   related information automatically to appropriately equipped shore stations.” 33 C.F.R.
     § 164.01(a)(1).
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 1         However, that AIS data only conveys the position of the vessels (and more
 2   specifically, their AIS transponders) on the surface, not the location of their anchors.
 3   Put another way, the BEIJING’s AIS data does not prove its anchor contacted the
 4   Pipeline approximately 100’ below the surface, let alone caused the damage which led
 5   the Amplify Oil Spill.
 6         But more to the point, the central theory of liability against Plaintiff is
 7   demonstrably false. The Amplify Oil Spill’s point of origin is a thirteen-inch crack in
 8   the Pipeline. (Gutierrez FAC, Images 7 & 8.) At paragraph 100 of the Verified
 9   Amplify Complaint, the Amplify Defendants identify the latitude and longitude
10   coordinates of the “Pipeline Crack Location.”: 33º38’58.1056” North (latitude) and
11   118º06’38.7240” West (longitude). The closest the BEIJING ever got to the
12   Pipeline Crack Location during the Heavy Wind Event was approximately 210
13   meters or over two football fields away. (See infra § IV.F.)
14         To distract from the complete absence of evidence that the BEIJING proximately
15   caused the crack in the Pipeline or the Amplify Oil Spill, the Gutierrez FAC and the
16   Verified Amplify Complaint offer several claims concerning the BEIJING’s conduct,
17   each of which is entirely baseless:
18         (1)    Federal law prohibited the BEIJING from anchoring close to the
19   Pipeline. (Gutierrez FAC, ¶ 204; Verified Amplify Complaint, ¶ 142). These
20   allegations betray a fundamental misunderstanding of the administration of the
21   anchorage off the ports of Los Angeles and Long Beach. The anchorage is subject to
22   the plenary authority of the U.S. Coast Guard (“Coast Guard”), which has been
23   responsible for the anchorage’s development including the designated anchorage and
24   contingency anchorage locations near the Pipeline. (See infra §§ IV.B.) Furthermore,
25   as a matter of federal regulations, no commercial vessel may unilaterally select its
26   anchorage location. Rather vessels are assigned to specific, preexisting anchorages by
27   the local Vessel Traffic Service. Consistent with this scheme, the BEIJING anchored at
28   the location assigned to it by the local Vessel Traffic Service. (See infra §§ IV.C. &
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 1   D.1.)
 2           (2)   The BEIJING negligently anchored near the Pipeline “… during a
 3   severe weather event.” (Verified Amplify Complaint, ¶ 144). This is false. As
 4   described in detail below, the weather was calm when the BEIJING anchored on
 5   January 23, 2021. (See infra § IV.D.1.)
 6           (3)   The BEIJING “…broadcasted that [it was] ‘at anchor,’ while
 7   repeatedly crossing over the Pipeline. (Gutierrez FAC, ¶ 67.) The BEIJING failed
 8   to notify anyone of [its] anchor-dragging…” (Verified Amplify Complaint, ¶ 131).
 9   Both allegations are patently false. On the morning of the January 25, 2021, the
10   BEIJING’s crew reported on open VHF radio broadcasts to Vessel Traffic Service and
11   other vessels of their belief that the Vessel was dragging its anchor. (See infra §
12   IV.D.6.) Importantly, Plaintiff believes that at least the Amplify Defendants were in
13   possession of evidence establishing the BEIJING’s reports of potential anchor dragging
14   to Vessel Traffic Service prior to filing the Verified Amplify Complaint. Thus, they
15   knew, or should have known, their allegations on this matter were false when that
16   pleading was filed.
17           (4)   The BEIJING “chose to remain” at the anchorage during the Heavy
18   Wind Event. (Gutierrez FAC, ¶ 66.) The implication that the BEIJING chose to
19   remain at anchor is improper. In fact, of the approximately twenty-four vessels (out of
20   fifty) that sailed from the anchorage during the Heavy Weather Event, the BEIJING
21   was among the very first to attempt to do so on January 25, 2021. However, during the
22   anchor weighing operations, the Vessel’s portside windlass (the large winch used to
23   lower and raise the portside anchor) unexpectedly failed. (See infra § IV.D.3. & 4.)
24           (5)   Plaintiff’s designation as a “Party In Interest” to the Coast Guard’s
25   marine casualty investigation into the Amplify Oil Spill infers liability on its part.
26   (Verified Amplify Complaint, ¶ 104.) Unlike the Amplify Defendants, the Coast Guard
27   did not unilaterally designate Plaintiff as a “Party In Interest” to its marine casualty
28   investigation into the cause Amplify Oil Spill. Rather, after learning about possible
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 1   connections between the BEIJING and the Amplify Oil Spill, Plaintiff decided to
 2   request such designation from the Coast Guard so that it could meaningfully participate
 3   in the investigation by calling and cross-examining witnesses. (See infra § IV.G.)
 4         (6)    A member of the BEIJING crew refused to answer investigators’
 5   questions and “fled the country” during the pendency of the Coast Guard’s
 6   investigation. (Verified Amplify Complaint, ¶¶ 106 – 107.) Despite having not
 7   participated in the Coast Guard’s investigation of the BEIJING, the Amplify
 8   Defendants offer this false, highly prejudicial, and scandalous accusation for the
 9   purpose of inferring a guilty conscience, motive, and liability upon the part of the
10   BEIJING Defendants. The crew member in question, after sitting for numerous
11   interviews with the Coast Guard, State, and local authorities, disembarked the BEIJING
12   as previously scheduled at Long Beach in late November 2021. By the time the crew
13   member signed off, he had been at sea aboard the Vessel for almost a year, after having
14   his contract extended due to COVID-19 related complications.
15         Putting aside the Gutierrez Case’s and the Verified Amplify Complaint’s lack of
16   merit, the claims asserted therein nevertheless expose Plaintiff to substantial exposure
17   exceeding the BEIJING’s value and pending freight at the end of the relevant voyage.
18         Neither the Class Action Plaintiffs nor the Amplify Defendants have evidence the
19   BEIJING’s anchor struct the Pipeline. Further, Plaintiff denies the BEIJING’s anchor
20   caused the thirteen-inch crack from which the Amplify Oil Spill belatedly flowed eight
21   months later, or, even if it did, that it knew or had reason to know of that event. Thus,
22   by this Action, Plaintiff seeks first adjudication exonerating it from all liability for the
23   Amplify Oil Spill. Alternatively, if Plaintiff is not so exonerated, it seeks to limit its
24   liability to $38,537,200.
25   II.   JURISDICTION AND VENUE
26         1.     The Complaint is an action for exoneration from or, in the alternative,
27   limitation of liability for civil and maritime claims which falls within the admiralty or
28   maritime jurisdiction of this Court, Federal Rules of Civil Procedure 9(h) and 38(e), 28
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 1   U.S.C. § 1333, and Supplemental Rule F of the Supplemental Rules of Admiralty or
 2   Maritime Claims (collectively, “Admiralty Rules”).
 3          2.    The Complaint, and the claims asserted therein, are only cognizable in
 4   admiralty or maritime jurisdiction of this Court. Thus there is no right to a jury.
 5          3.    Venue is proper in this Court and District – the United States District
 6   Court for the Central District of California, Western Division – pursuant to Admiralty
 7   Rule F(9) because Plaintiff has already been sued in this District with respect to the
 8   Amplify Oil Spill, for which this Complaint seeks exoneration from, or limitation of,
 9   liability.
10          4.    On November 23, 2021, Plaintiff first received written notice that a
11   potential claim may exist in relation to the Amplify Oil Spill. Plaintiff files this Action
12   within six months since it received that first written notice.
13   III.   PARTIES
14          5.    The BEIJING is a 109,149 gross ton, diesel-powered, Maltese-flagged,
15   container cargo ship built in 2006 and bearing International Maritime Organization
16   (IMO) number 9308508. The BEIJING was formerly known as the “COSCO
17   BEIJING.” At all relevant times, the Vessel is and was in all respects seaworthy, tight,
18   staunch, strong, fully & properly manned, equipped and supplied, and fit for service for
19   which it was engaged.
20          6.    At all relevant times, the BEIJING was and is owned by Plaintiff, a foreign
21   corporation incorporated, organized, and existing under the laws of Liberia.
22          7.    At all relevant times, the BEIJING was and is under the technical
23   management of experienced third parties, and Plaintiff was not involved in the selection
24   or provision of the Vessel’s Master, Officers, and other Crew.
25          8.    At all relevant times, Amplify Energy was and is a corporation organized
26   under the laws of the state of Delaware.
27          9.    At all relevant times, Beta Offshore was and is a limited liability company
28   organized under the laws of the state of Delaware.
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 1          10.    At all relevant times, SPBPC was and is a corporation organized under the
 2   laws of the state of California.
 3          11.    The term “Class Action Plaintiffs,” as used herein, shall refer collectively
 4   to all the named plaintiffs in the Gutierrez Case.
 5   IV.    FACTUAL ALLEGATIONS
 6          A.     THE PIPELINE
 7          12.    With respect to the Pipeline, Plaintiff is informed and believes the
 8   following to be true.
 9          13.    The Pipeline is a 16-inch, 17.3-mile-long common carrier pipeline first
10   installed in 1980.
11          14.    Construction of the Pipeline was permitted by both U.S. Army Corps of
12   Engineers representing federal interests, and the California Coastal Commission
13   representing the State of California.
14          15.    The Amplify Defendants were on notice of the foreseeability of an anchor
15   strike to the Pipeline prior to and after its installation.
16          16.    During the permitting process, concerns of a potential anchor strike or
17   risks of other interference by shipping were raised and seemingly addressed by
18   requiring that the Pipeline be buried in those areas where ships might be expected to
19   anchor.
20          17.    For example, an Environmental Impact Report performed in advance of
21   the Pipeline’s installation observed that since the Pipeline “...will be vulnerable to
22   damage from anchoring, particularly by large ships, it is important that the anchorage
23   area be separated from the pipeline.”
24          18.    To address these concerns, the Pipeline was permitted and constructed in
25   such a way that it was to be buried 10-to-15 feet below the ocean floor inside the
26   breakwater that sits offshore of the Ports of Los Angeles and Long Beach.
27          19.    The remainder of the offshore section of the Pipeline which was outside
28   the breakwater heading seaward to the Beta Unit Complex (approximately 10.9 miles),
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 1   was left unburied on the ocean floor.
 2         20.    A concrete coating was installed on the unburied section of the Pipeline.
 3         21.    In 1992, dents in the Pipeline, possibly caused by anchor strikes, were
 4   discovered, and repaired.2
 5         22.    With respect to the Pipeline, the 2012 Oil Spill Prevention and Response
 6   Plan for the Beta Unit Complex (the “2012 Beta Response Plan”) states that it “…is
 7   considered to be capable of causing significant and substantial harm to the environment
 8   in the event of a discharge of oil because of its proximity to navigable waters …” 3
 9         B.     DEVELOPMENT OF THE LONG BEACH OUTER ANCHORAGE
10         23.    At all times relevant times, the Coast Guard had plenary authority to
11   regulate the anchorages off the Port of Los Angeles and Long Beach.
12         24.    In 1979, when the Pipeline was first proposed, the Coast Guard gave
13   notice that, “in view of the overcrowded anchorages,” the Coast Guard was proposing
14   new anchorage grounds and rules for Los Angeles and Long Beach Harbors. (44
15   Fed.Reg. 51620 (Sep. 4, 1979)). One of the new anchorages was Commercial
16   Anchorage F, which is located outside the breakwater (the “Outer Anchorage”). (Id.)
17         25.    In May 1980, the Coast Guard finalized its proposed new anchorage rules,
18   noting that, “After publication of the proposed regulations a subsea crude oil pipeline
19   has been constructed within the harbors.” (45 Fed.Reg. 30431 (May 8, 1980)).
20         26.    In July 1980, NOAA updated Chart 18749 of the San Pedro Bay to show
21   the new Outer Anchorage and the Pipeline.
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23   2
           Theresa Bell, et al., Overcoming the Challenges to Intelligently Pig the
24   Unpiggable, Platform Elly to Shore Oil Pipeline Case Study, Prevention First 2008, pp.
     6 & 12 (Sept. 2008), available at: https://www.slc.ca.gov/wp-
25   content/uploads/2018/08/PF2008-
26   Pipeline-Overcoming.pdf.
     3
27          The 2012 Beta Response Plan is available at:
     https://www.bsee.gov/sites/bsee.gov/files/oil-spill-response-plan-osrp/inspection-and-
28   enforcement/beta-operating-company-osrp-april-2012.pdf.
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 1         27.    In April 2004, the Coast Guard reconfigured the berths within the Outer
 2   Anchorage. The total number of anchorage berths was reduced from 24 to 16 to allow
 3   for larger swing circles for larger ships. (USCG District 11 Local Notice to Mariners
 4   No. 16/04 (April 20, 2004)). In addition to making the anchorage berths larger, the
 5   center points of the anchorages (where vessels aim to drop their anchors), was moved
 6   away from the Pipeline.
 7         28.    In November 2004, the Coast Guard proposed two further changes to the
 8   Outer Anchorage: (1) to increase the size of the anchorage area overall, and (2) to
 9   increase the size of each of the anchorage berths within the anchorage. Specifically, the
10   Coast Guard explained:
11                Ships of increasing size are calling on the Port of Los Angeles
12                and Long Beach. While in an anchorage area, these larger
                  ships require watch circles of 1500 yards in diameter.
13                Currently, the anchorage area outside the federal breakwater
14                is made up of watch circles 1000 yards in diameter. An
                  increase in the anchorage boundary would allow us to add
15                three additional anchorages for vessels with watch circles of
16                1500 yards in diameter.
17   (Notice of Proposed Rulemaking, 69 Fed.Reg. 64549 (Nov. 5, 2004)).
18         29.    In 2006, the Coast Guard finalized its new rule for the Outer Anchorage.
19   (71 Fed.Reg. 3001 (Jan. 19, 2006)). However, the new rule addressed only the
20   anchorage boundaries without any adjustment to the anchorages’ berths within the
21   Outer Anchorage.
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 1         30.   The new rule pushed the boundary of the Outer Anchorage closer to the
 2   Pipeline.
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14        NOAA Chart 18749 (1980) showing Pipeline (green) in relation to Outer
15                             Anchorage boundary (yellow).
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27        NOAA Chart 18749 (2006) showing Pipeline (green) in relation to Outer
28                             Anchorage boundary (yellow).
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 1         31.    Plaintiff is informed and believes that the Coast Guard took no public or
 2   official action to utilize the new area in the southern portion of the Outer Anchorage for
 3   several years. However, in minutes of the April 2013 meeting of the LA/LB Harbor
 4   Safety Committee, there was the following note:
 5                There was a question regarding the Sierra Foxtrot anchorages
 6                not being on nautical charts. Captain McKenna said they were
                  developed with the Coast Guard approximately 10 years ago,
 7                that they are on the VTS's charts at the Marine Exchange, and
 8                that they were developed in part due to concern for a nearby
                  pipeline. Lieutenant Commander Radiah Jones said that the
 9                Coast Guard was working on the matter, and Captain Jenkins
10                said the Coast Guard would take the matter for action to
                  follow-up.
11
           32.    Two months later, in June 2013, the Coast Guard issued a chart correction
12
     to add three new anchorage berths within the Outer Anchorage, to wit: SF-1, SF-2, and
13
     SF-3. (Coast Guard District Eleven, Local Notice to Mariners, No. 25/13 (19 Jun
14
     2013)). The new “SF” (or “Sierra Foxtrot”) anchorage berths had radii of 650 yards –
15
     which is substantially smaller than what the Coast Guard prescribed in 2004, see supra
16
     ¶ 28. As shown in the below excerpt of a subsequent 2015 version of NOAA Chart
17
     18479, the new “Sierra Foxtrot” anchorage berths (highlighted in red) were
18
     significantly closer to the Pipeline (highlighted in green).
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 1         33.    Plaintiff is informed and believes that the U.S Coast Guard neither sought
 2   nor obtained public comment on the addition of the Sierra Foxtrot anchorage berths
 3   within the Outer Anchorage.
 4         34.    At some point after 2015 but before January 2021, Plaintiff is informed
 5   and believes that based on the number of vessels anchored on January 25, 2021, the
 6   Coast Guard added 22 more anchorage berths – nearly doubling the number of
 7   anchorage spots for ships at the Outer Anchorage.
 8         35.    The Coast Guard has never published the location of the new anchorage
 9   berths. There is no record of these anchorage positions in the Federal Register, in the
10   Coast Guard’s Local Notices to Mariners, in NOAA’s Coast Pilot, nor on any publicly
11   available chart.
12         36.    Of particular importance as it relates to the BEIJING is contingency
13   anchorage berth “SF-12,” which is where the BEIJING was instructed to anchor on
14   January 23, 2021. As illustrated in purple below, this berth was also placed very close
15   to the Pipeline by the Coast Guard.
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                                               - 12 -
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 1         C.     ONLY THE VESSEL TRAFFIC SERVICES FOR LOS
 2                ANGELES/LONG BEACH CAN SELECT THE ANCHORAGE
 3                LOCATIONS FOR VESSELS AT THE OUTER ANCHORAGE
 4         37.    A Vessel Traffic Service (“VTS”) is how the Coast Guard implements its
 5   regulatory framework to actively support the improvement of vessel safety and efficient
 6   movement through confined and busy waterways.
 7         38.    Vessels and pilots within a VTS area of responsibility are required to
 8   utilize or comply with that service and must comply with VTS’ instructions, directives,
 9   or orders. 46 USC § 70001.
10         39.    The VTS servicing the ports of Los Angeles and Long Beach is operated
11   by a public/private partnership between the Coast Guard and the Marine Exchange of
12   Los Angeles – Long Beach Harbor d/b/a the Marine Exchange of Southern California
13   (the “Marine Exchange”)(“VTS LA/LB”).
14         40.    VTS LA/LB exercises full Coast Guard “Captain-of-the-Port Authority” to
15   enforce federal navigation and safety regulations within its area of responsibility,
16   including the San Pedro Bay – where the ports of Los Angeles and Long Beach are
17   located. Thus, vessels and pilots within VTS LA/LB’s area of responsibility are
18   required to use its services and comply with its instructions, directives, and orders.
19         41.    Anchorage assignments in the ports of Los Angeles and Long Beach are
20   the subject of federal regulations. Specifically: “All anchorages outside (seaward) of
21   the federal breakwater will be assigned by the Los Angeles – Long Beach Vessel
22   Traffic Information Service (VTIS) …,” i.e., VTS LA/LB. (See 33 C.F.R. §
23   110.214(a)(1) “Los Angeles and Long Beach harbors,” “General Regulations,”
24   “Anchorage Assignment.” (Emphasis added)).
25         42.    Furthermore, in an August 13, 2020 Memorandum from the Captain of the
26   Port for Sector LA/LB entitled “DELEGATION OF CAPTAIN OF THE PORT
27   AUTHORITY FOR VTS OPERATIONS,” the Captain of the Port “updated guidelines
28   for implementing Captain of the Port authority by Coast Guard personnel assigned to
                                                - 13 -
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 1   [VTS LA/LB].” This document provides: Anchorage Assignment: I hereby
 2   designate … authority to assign vessels to established contingency anchorages
 3   within the Los Angeles-Long Beach Precautionary Area [33 C.F.R. 110.214], when
 4   suitable federal anchorage is not available in an emergency situation.” Emphasis
 5   added).
 6         43.       In other words, commercial vessels (such as the BEIJING) which anchor
 7   outside the breakwater off the ports of Los Angeles and Long Beach (as the BEIJING
 8   did in January 2021) are assigned anchorages by VTS LA/LB.
 9         D.        THE BEIJING JANUARY 2021 PORT CALL AT LONG BEACH
10                   1.    The BEIJING’s arrival at Long Beach on January 23, 2021
11         44.       On January 6, 2021, the BEIJING departed on voyage number 084E from
12   Xiamen, China to deliver containerized cargo at Long Beach, California.
13         45.       The BEIJING’s commercial schedule, i.e., the ports at which it calls to
14   conduct cargo operations, was and is dictated entirely by the charterer of the Vessel, not
15   by Plaintiff.
16         46.       The Vessel arrived within VTS LA/LB’s area of responsibility in the
17   evening of January 23, 2021.
18         47.       Plaintiff is informed and believes that due to the unprecedented port
19   congestion in January 2021, VTS LA/LB instructed the Vessel to anchor at the
20   uncharted, contingency anchorage SF-12 located in the San Pedro Bay.
21         48.       Neither Plaintiff, the Master, Officers, nor Crew of the BEIJING proposed,
22   selected, or requested contingency anchorage SF-12 as the location to drop and set the
23   BEIJING’s anchor on January 23, 2021. VTS LA/LB assigned the Vessel to that
24   anchorage.
25         49.       Once in position at contingency anchorage SF-12, the BEIJING obtained
26   final authority from VTS LA/LB to lawfully anchor there.
27         50.       The BEIJING properly completed anchoring with its portside anchor at
28   contingency anchorage SF-12 on January 24, 2021 at approximately 12:19 a.m. (local),
                                                  - 14 -
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 1   and then set and maintained a proper anchor watch at all relevant times thereafter.
 2         51.    The Amplify Defendants’ falsely claim that the BEIJING anchored during
 3   the Heavy Wind Event described in the next section of this Complaint. (Verified
 4   Amplify Complaint, Introduction, p. 5, ll. 14 – 17 (The BEIJING anchored “…during a
 5   heavy wind event...”).
 6         52.    To the contrary, anchoring the BEIJING at contingency anchorage SF-12
 7   was not contraindicated by the weather conditions during the late evening of January 23
 8   or the early morning of January 24. At the time of anchoring, the weather conditions
 9   were Force 2 on the Beaufort Scale, which is characterized by light breezes (approx. 4 -
10   6 knots) and small seas.
11         53.    Upon completion of anchoring operations, the crew of the BEIJING
12   observed on its chart systems that the Vessel appeared to be anchored adjacent to an
13   undersea pipeline. The crew of the BEIJING contacted VTS LA/LB to confirm if the
14   Vessel was anchored near an undersea pipeline and, if so, whether it was safe for the
15   Vessel to remain at contingency anchorage SF-12. In response to this inquiry, VTS
16   LA/LB advised the BEIJING that it was anchored adjacent to an undersea pipeline but
17   that it was safe for the Vessel to remain at contingency anchorage SF-12.
18         54.    The BEIJING experienced no issues with its anchor holding on January
19   24, 2021. Throughout that day, the weather conditions never exceeded Force 4 on the
20   Beaufort Scale, which is characterized by moderate breeze (approx. 11 - 16 knots) and
21   small seas (approx. 1- 4’).
22                2.    The January 25, 2021 “Unique and Severe” Heavy Wind Event.
23         55.    On or about January 24, 2021, VTS began advising ships within 25
24   nautical miles of San Pedro Bay via radio broadcasts to expect high winds later that
25   evening and into the early hours of the next day, January 25, 2021.
26         56.    On January 24, 2021, there were more than 50 oceangoing vessels at
27   anchor within the VTS LA/LB area of responsibility.
28         57.    Despite its warnings of high winds, VTS LA/LB did not at any time order
                                               - 15 -
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 1   any vessels to leave their anchorages in response to, or in anticipation of, the forecasted
 2   weather.
 3         58.    On the evening of January 24, 2021, despite its own warnings and the
 4   expected high winds, VTS LA/LB continued to assign and instruct vessels to anchor
 5   within the San Pedro Bay.
 6         59.    During early morning hours on or about January 25, 2021, while at anchor,
 7   the BEIJING, along with the other vessels at anchor, began experiencing extremely
 8   high winds estimated between 30 to 55 knots and eventually generating seas of over
 9   seventeen (17) feet during the High Winds Event.
10         60.    Plaintiff is informed and believes that VTS LA/LB continuously monitored
11   vessel positions and contacted vessels if an alarm was triggered on the VTS LA/LB’s
12   console that indicated when a ship might be dragging its anchor.
13         61.    On January 25, 2021, a significant number of vessels dragged anchor and
14   were contacted by VTS LA/LB regarding the same.
15         62.    As the intensity of the High Winds Event increased, VTS LA/LB began
16   instructing various vessels at anchor to place their engines on standby and be ready to
17   deploy a second anchor if needed to help hold position.
18         63.    Plaintiff is informed and believes that at no time on January 25, 2021, did
19   VTS LA/LB direct any vessel suspected of dragging its anchor to heave anchor and put
20   to sea, and that VTS LA/LB only instructed such vessels to place their engines on
21   standby and be ready to deploy a second anchor if needed to help hold position.
22         64.    Plaintiff is informed and believes that at no time on January 25, 2021, did
23   VTS LA/LB instruct any ship to drop a second anchor as a means to better hold its
24   ground.
25         65.    At approximately 4:30 a.m. on January 25, 2021, vessels which had been
26   anchored by VTS LA/LB at the Huntington Beach Anchorage collided.
27         66.    Plaintiff is informed and believes that at least 24 other vessels also heaved
28   anchor and put to sea on January 25, 2021.
                                                - 16 -
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 1         67.   On January 26, 2021, the Executive Director of the Marine Exchange sent
 2   an e-mail to local shipping industry stakeholders characterizing the Heavy Wind Event
 3   as “unique and severe”:
 4               Colleagues: I usually use this e-mail to send information to
 5               you on behalf of the CG, NOAA, USAF, etc. but this
                 morning, in the wake of the unique and severe weather
 6               conditions we had yesterday, here’s some info from the
 7               [Marine Exchange] you may find useful: **** The storm had
                 30 – 55 knot winds and 17 foot seas by our records. 24 ships
 8               departed anchorages for sea. Some are returning to anchor;
 9               other remain drifting. Either way, we work with each ships
                 captain and they [sic][are] carefully monitored and managed
10               by my wonderful MIS, VTS, and CG team of watchstanders.
11               (Emphasis added).
12               3.     The BEIJING was among the first vessels on January 25, 2021
13                      to attempt weighing anchor in order to sail from the Outer
14                      Anchorage
15         68.   At midnight between January 24 and January 25, 2021, the weather
16   conditions at the anchorage remained Force 4 on the Beaufort Scale. However, as
17   noted above, the weather conditions began to rapidly degrade during the early morning
18   of January 25, 2021.
19         69.   At approximately 3:50 a.m. (local) on January 25, 2021, the BEIJING’s
20   crew observed the increasing winds and took all reasonable precautionary and
21   preventative measures including, but not limited to, ensuring the Vessel’s main engines
22   were on standby.
23         70.   Contrary to the allegations of the Class Action Plaintiffs’ allegations, the
24   BEIJING did not choose to remain at the anchorage during the Heavy Wind Event on
25   January 25, 2021. (See e.g., Gutierrez FAC ¶ 66 (The BEIJING “chose to remain” at
26   the anchorage.)
27         71.   In fact, of the approximately twenty-four (24) vessels (out of fifty (50))
28   that sailed from the anchorage during the Heavy Wind Event on January 25, 2021, the
                                               - 17 -
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 1   BEIJING the first to attempt to do so, by approximately thirty minutes.
 2         72.    At approximately 3:54 a.m. (local), the BEIJING’s crew believed that due
 3   to the rapidly increasing winds and seas, the Vessel lost the ability to hold its ground
 4   and was possibly dragging its anchor. In response, the crew immediately began to
 5   prepare the Vessel’s main engines and bow thruster.
 6         73.    By approximately 4:02 a.m. (local), members of the BEIJING crew had
 7   assembled at the Vessel’s forward mooring station to begin the process of weighing the
 8   Vessel’s portside anchor. By then, the weather conditions had deteriorated significantly
 9   and were at least Force 8 on the Beaufort Scale, which is characterized by gale force
10   winds (approx. 34 – 40 knots) and waves ranging from 18 to 25’.
11         74.    Soon thereafter, at approximately 04:05 a.m. (local), the crew started to
12   weigh the portside anchor so that the BEIJING could depart the anchorage.
13         75.    Contrary to the allegations of both the Class Action Plaintiffs and the
14   Amplify Defendants, the BEIJING reported its belief that it might have been dragging
15   its anchor to VTS LA/LB. (Gutierrez FAC, ¶ 67 (BEIJING reported it was “at anchor”
16   while crossing over Pipeline); Verified Amplify Complaint, ¶ 131 (BEIJING failed to
17   notify “anyone” of anchor-dragging.)
18         76.    Specifically, at approximately 4:04 a.m. (local), the BEIJING first reported
19   to VTS LA/LB its belief that it was dragging its anchor, and reported that it was
20   preparing its main engine, and that it would attempt to weigh anchor. Additional
21   examples of the BEIJING’s communications with VTS LA/LB and other vessels during
22   the Heavy Wind Event on January 25, 2021, are detailed below in Section IV.D.6.
23         77.    At approximately 05:17 a.m. (local), another vessel attempted to drop
24   anchor. Again, per the foregoing federal regulatory authority, that could not have been
25   done without the express direction and approval of VTS LA/LB.
26                4.     The BEIJING portside anchor windlass unexpectedly failed
27                       when the crew attempted to weigh anchor
28         78.    During portside anchor weighing operations, the BEIJING’s portside
                                                - 18 -
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 1   windlass (the large winch used by the Vessel to both raise and lower the portside
 2   anchor and to conduct mooring (i.e., dock line securing) operations), unexpectedly
 3   failed.
 4             79.   Prior to the Vessel’s January 23, 2021, arrival at the Outer Anchorage, the
 5   last time the Vessel anchored with its portside anchor (and thus dropped and weighed
 6   the anchor using the portside windlass) was on October 4, 2020, at Yantian, China. The
 7   BEIJING experienced no issues with the operability of the windlass during the October
 8   2020 anchorage at Yantian.
 9             80.   The Vessel’s portside windlass was subjected to routine checks and
10   inspections on or about December 31, 2020, and January 1 and January 11, 2021, none
11   of which identified deficiencies or issues with the operability of the equipment.
12             81.   Plaintiff is informed and believes that at least one other vessel experienced
13   similar windlass operation issues when attempting to weigh anchor on January 25,
14   2021.
15                   5.    Evasive maneuvers were performed while the BEIJING’s crew
16                         undertook efforts to repair the windlass
17             82.   The only way for the crew to bring the BEIJING’s portside windlass back
18   on-line on January 25, 2021, was for them to replace its motor with the motor from the
19   Vessel’s starboard side windlass.
20             83.   The Vessel’s windlass motors are extremely large themselves. To move
21   the Vessel’s approximately 2,000-pound, starboard side windlass motor, the crew had
22   to fabricate, rig, and weld a series of steel “A-frame” structures to the deck of the
23   BEIJING.
24             84.   From these structures, the crew used chain falls, pulleys, and brute strength
25   to lift the motor from the starboard side windlass and work it across the deck, all during
26   the extreme conditions of the Heavy Weather Event, to the portside windlass.
27             85.   While the crew worked on the windlass at the mooring station, on the
28   bridge, the Master and crew using the BEIJING’s main engines and bow thruster,
                                                  - 19 -
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 1   performed maneuvers in order to maintain position in the course of good seamanship
 2   and prudent conduct in order to avoid collisions with other vessels anchored adjacent to
 3   it at the Outer Anchorage, avoid prejudice to safe navigation of those vessels, and to
 4   keep itself, its cargo, and its crew safe.
 5            86.   The replacement of the portside windlass motor was completed at
 6   approximately 1:45 p.m. (local) on January 25, 2021.
 7                  6.      The BEIJING reported to VTS LA/LB and other vessels at the
 8                          Long Beach Outer Anchorage that it was dragging anchor and
 9                          that it was experiencing issues with its windlass
10            87.   Both the Class Action Plaintiffs and the Amplify Defendants have
11   attempted to mischaracterize the conduct of the BEIJING in terms of what it reported to
12   others during the Heavy Wind Event.
13            88.   The Amplify Defendants allege the BEIJING concealed it was dragging
14   anchor. (See e.g., Verified Amplify Complaint, ¶ 96.) The Class Action Claimants
15   allege the BEIJING mispresented it was NOT dragging its anchor. (See Gutierrez FAC,
16   ¶ 67.)
17            89.   Both scenarios are demonstrably false. During the Heavy Wind Event, the
18   BEIJING reported to both VTS LA/LB and other vessels at the anchorage not only that
19   it believed it was dragging anchor, but also that it was experiencing issues with its
20   windlass:
21
22    4:04 a.m.          BEIJING reports to VTS LA/LB its belief it is dragging anchor and
23                       that it is preparing to weigh anchor.
24    5:06 a.m.          BEIJING reports to VTS LA/LB that it is continuing to heave anchor.
25    6:06 a.m.          BEIJING reports to VTS LA/LB that it is experiencing issues with its
26                       windlass. BEIJING further confirms it is aware of a vessel off its
27                       starboard (right) side and that it will maintain its current position
28                       while tending to the windlass.
                                                    - 20 -
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 1
      6:15 a.m.        BEIJING again reports to VTS LA/LB that it is experiencing issues
 2
                       with its windlass and that the Vessel will maintain its current position
 3
                       while tending to the windlass.
 4
      6:29 a.m.        BEIJING communicates with the vessel off its port (left) side.
 5
                       BEIJING advises it is using engines to provide distance between it and
 6
                       that vessel.
 7
      6:34 a.m.        BEIJING communicates with vessel off its starboard side. BEIJING
 8
                       advises it is using engines to also provide distance between it, that
 9
                       vessel, and the vessel off the BEIJING’s portside.
10
11
           90.    Each of these communications with VTS LA/LB and other vessels
12
     immediately adjacent to it at the anchorage were broadcast on VHF Channel 14, aka,
13
     “LA-Long Beach Traffic” or “San Pedro Traffic.” (See 33 C.F.R. §110.214(a)(ii)). All
14
     vessels anchored outside the federal breakwater must maintain a continuous radio
15
     watch of San Pedro Traffic, Channel 14. (33 C.F.R. § 110.21(a)(3)(i)).
16
           91.    Plaintiff is informed and believes that as Parties In Interest to the Coast
17
     Guard’s marine casualty investigation into the Amplify Oil Spill (see infra Section
18
     IV.G.), the Amplify Defendants had access to the audio recordings of San Pedro
19
     Traffic, Channel 14 from January 25, 2021 confirming these communications prior to
20
     filing the Verified Amplify Complaint. As a result, the Amplify Defendants knew or
21
     should have known its allegation at paragraph 96 of the Verified Amplify Complaint
22
     were false when that pleading was filed.
23
                  7.      The BEIJING’s termination of Voyage 084E
24
           92.    Upon successfully restoring the portside windlass, the BEIJING sailed
25
     from contingency anchorage SF-12 at approximately 24:00 (local) on January 25, 2021.
26
           93.    On January 26, 2021, at approximately 3:19 p.m. (local), the Vessel
27
     anchored at anchorage HB3, again per the instructions of VTS LA/LB. Using the
28
                                                 - 21 -
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 1   portside windlass, the BEIJING was able to drop and set its portside anchor without any
 2   issues.
 3         94.    On January 27, 2021, the BEIJING was able to successfully weigh its
 4   portside anchor using the portside windlass. That same day, the Vessel came alongside
 5   the berth at Long Beach at approximately 9:36 p.m. (local).
 6         95.    The Vessel remained at the berth to conduct cargo operations until
 7   February 8, 2021, when it sailed from Long Beach. Voyage 084E was terminated on
 8   that day.
 9         E.     THE AMPLIFY OIL SPILL OCCURS EIGHT MONTHS AFTER
10                THE JANUARY 2021 HEAVY WIND EVENT
11         96.    During the Amplify Oil Spill, it is estimated that 25,000 gallons of oil
12   discharged from the Pipeline over the course of approximately fourteen (14) hours into
13   the waters of the United States. The Amplify Oil Spill purportedly created a clean-up
14   response zone of nearly thirteen (13) square miles.
15         97.    The Amplify Oil Spill could have and should have been prevented by the
16   Amplify Defendants. In fact, the Amplify Defendants have been criminally indicted by
17   the U.S. Department of Justice. (See: https://www.justice.gov/usao-cdca/pr/three-
18   companies-face-charges-negligent-conduct-during-offshore-oil-leak-damaged.)
19         98.    The Amplify Defendants following conduct was also not just potentially
20   criminal in nature, but inconsistent with the most basic principles of their own internal
21   policies and procedures including, but not limited to, the 2012 Beta Response Plan, p.
22   2-18, which provides:
23   ///
24
25
26
27   ///
28
                                                - 22 -
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 1                       In General – For Spill Response – Do Not Delay.
 2
                                            Plan Ahead.
 3
                           Over-respond and stand down if necessary.
 4
                                   Do not get behind the curve.
 5
           99.    The Amplify Defendants failed to provide sufficient training in spill
 6
     response to its personnel in charge of Elly and the Pipeline on October 1 – 2, 2021. In
 7
     addition to this training deficit, the Amplify Defendants allowed Elly to be
 8
     undermanned by fatigued personnel. As result, the following calamitous series of
 9
     events, which, based on the Department of Justice’s indictment, Plaintiff is informed
10
     and believe transpired.
11
           100. At approximately 4:10 p.m. (local) on October 1, 2021, the first low-
12
     pressure alarm sounded, signaling a possible leak in the Pipeline indicated on Elly.
13
     Elly’s automated safety system shut down the pumping operation.
14
           101. Beta Offshore personnel on Elly failed to appreciate the significance of the
15
     initial 4:10 p.m. (local) alarm. Apparently due to a lack of training provided by the
16
     Amplify Defendants, Beta Offshore’s personnel on Elly that day disregarded the alarm
17
     and simply restarted their pumping operations without any effective investigation or
18
     other mitigation.
19
           102. Over the next several hours, Beta Offshore personnel ignored at least four
20
     (4) other subsequent leak detection alarms and automated forced shutdowns. Like the
21
     first alarm at 4:10 p.m. (local) on October 1, 2021, the personnel on Elly made no
22
     appreciable effort to inspect the surface waters over, near, or adjacent to the Pipeline.
23
     Rather, after every subsequent alarm and shutdown, the personnel on Elly apparently
24
     cleared the alarms, thereby resetting or bypassing safety features, and restarted
25
     pumping operations.
26
           103. The effect of restarting its pumps four (4) times after each of the alarms
27
     and shutdowns, resulted in oil discharging from the Pipeline for over three (3) hours.
28
                                                - 23 -
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 1         104. The personnel on Elly observed a sixth (6th) and then a seventh (7th) low
 2   pressure alarm at or about 10:01 and 11:15 p.m. (local) on October 1, 2021,
 3   respectively. Again, the personnel on Elly simply restarted and pumped oil for an
 4   additional three hours, causing a further discharge of oil.
 5         105. In the predawn hours of October 2, 2021, and despite an eighth (8th) alarm
 6   at or about 5:28 a.m. (local), the personnel on Elly once again, simply restarted the
 7   system, and pumped oil for an additional half hour, causing a further discharge of oil.
 8         106. The personnel on Elly only finally shut down its pumping operation at
 9   6:01 a.m. (local) on October 2, 2021, approximately fourteen (14) hours after the first
10   low pressure leak detection alarm sounded at 4:10 p.m. (local) on October 1, 2021.
11         107. By this time, all the oil discharged from the Pipeline during the Amplify
12   Oil Spill had leaked out.
13         108. The Amplify Defendants did not immediately report the Amplify Oil Spill,
14   as required, to the National Response Center until 9:07 a.m. on October 2, 2021, over
15   seventeen (17) hours after having received the first indication of a possible leak.
16         109. The Amplify Oil Spill is not the first time an oil spill has occurred at the
17   Beta Unit Complex due to alarm issues. The 2012 Beta Response Plan, p. A-6, itself
18   discusses an incident in 1999 when a crude line running from Elly and another platform
19   (“Eureka”) in the Beta Unit Complex leaked, which caused Eureka to be closed for
20   nine years. Thereafter, an investigation determined that an electronic monitoring
21   system that was supposed to detect leaks did not sound an alarm.4
22         110. In the same year, 2,000 gallons of crude oil were spilled from the Beta
23   Unit Complex into the Pacific Ocean, resulting in a $48,000 fine for the operators,
24   although it is unclear whether that spill was connected to the Eureka shutdown.5
25
     4
           Deborah Schoch, Seven Leaks Discovered in Shut-Off Pipeline, LA TIMES (June
26   20, 1999, 12:00 a.m.), available at: https://www.latimes.com/archives/la-xpm-1999-jun-
27   10-me-46179-story.html
28
     5
           CALIFORNIA NEWS TIMES, OC oil spill: oil rig operator waited 3 hours to shut off

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 1          111. More recently, the Amplify Defendants were fined $85,000 in 2013 and
 2   2014 for three separate incidents, one of which resulted in the release of oil into the
 3   Pacific Ocean.6
 4          F.    THE BEIJING WAS NEVER CLOSE TO THE PIPELINE CRACK
 5                LOCATION
 6          112. In the immediate wake of the Amplify Oil Spill, the Coast Guard, along
 7   with other federal and California government investigators, in consultation with the
 8   Amplify Defendants determined, on or about October 4, 2021, that the source of the
 9   Amplify Oil Spill was a thirteen-inch (13’) fracture to the Pipeline.
10          113. At paragraph 100 of the Verified Amplify Complaint, the Amplify
11   Defendants identify the latitude and longitude coordinates of the “Pipeline Crack
12   Location.”: 33º38’58.1056” North (latitude) and 118º06’38.7240” West (longitude).
13          114. The Coast Guard requires large commercial vessels such as the BEIJING
14   to be equipped with an Automated Identification System (AIS) standardized by the
15   International Telecommunication Union and adopted by the International Maritime
16   Organization (the “IMO”). See 33 C.F.R. § 164.01(a). The IMO is the United Nations’
17   specialized agency responsible for ship safety and security. A commercial vessel’s AIS
18   “…provides vessel information, including the vessel’s identity, type, position, course,
19   speed, navigational status, and other safety-related information automatically to
20   appropriately equipped shore stations.” 33 C.F.R. § 164.01(a)(1).
21          115. At all relevant times, the BEIJING was equipped with a fully functioning
22   AIS.
23          116. Historic data for all commercial vessels outfitted with AIS is available to
24
     damaged pipeline report says (Oct. 6, 2021), https://californianewstimes.com/ocoil-
25   spill-oil-rig-operators-waited-3-hours-to-shut-off-damaged-pipeline-reportsays/
26   549529/.
27
     6
          Casey Tolan, Operator of leaking oil infrastructure has record of violations,
     CNN (Oct. 4, 2021, 12:14 p.m.), https://www.cnn.com/2021/10/04/us/betaoperating-
28   company-violations/index.html
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 1   the public (including, for example, the Class Action Plaintiffs and Amplify Defendants)
 2   from numerous sources.
 3            117. Based on the BEIJING’s publicly available AIS data, the closest the
 4   BEIJING got to the Pipeline Crack Location during the Heavy Wind Event on
 5   January 25, 2021, was approximately 210 meters.
 6            118. Consequently, the BEIJING was NOT the cause, proximate or otherwise,
 7   of the 13” crack in the Pipeline, the Amplify Oil Spill, or the alleged damages sustained
 8   by the Class Action Plaintiffs and Amplify Defendants.
 9            G.    PLAINTIFF STATUS AS A “PARTY IN INTEREST” TO THE
10                  COAST GUARD’S MARINE CASUALTY INVESTIGATION OF
11                  THE AMPLIFY OIL SPILL
12                  1.     Parties In Interest to Coast Guard Marine Casualty
13                         Investigations
14            119. Pursuant to 46 U.S.C. §§ 6301 – 6309 and 46 C.F.R. §§ 4.07-1 – 4.0755,
15   the Coast Guard has broad powers to investigate “marine casualties,” as that term is
16   defined in 46 C.F.R. § 4.03-1.
17            120. Exercising this authority, the Coast Guard, Sector Los Angeles – Long
18   Beach, commenced a marine casualty investigation into the cause of the Amplify Oil
19   Spill.
20            121. Pursuant to 46 C.F.R. § 4.03-10, the “…term party in interest shall mean
21   any person whom the … investigating officer shall find to have a direct interest in the
22   investigation conducted by it and shall include an owner, a charterer, or the agent of
23   such owner or charterer of the vessel or vessels involved in the marine casualty …,
24   whether or not involved in a marine casualty …. under investigation by the …
25   investigating officer.” (Emphasis in original).
26            122. Parties In Interest, or “PII,” are allowed to be represented by counsel, to
27   cross-examine witnesses, and to call witnesses. 46 U.S.C. § 6303; 46 C.F.R. § 4.07-35.
28            123. The Coast Guard designated the Amplify Defendants and the owners of
                                                 - 26 -
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 1   another vessel as PII in its investigation of the Amplify Oil Spill in October 2021.
 2                2.     Plaintiff REQUESTED designation as a PII to the Coast
 3                       Guard’s Marine Casualty Investigation
 4         124. Plaintiff was not designated as PII at the time the Amplify Defendants
 5   and the owner of the other vessel were designated.
 6         125. However, a party not unilaterally designated as a PII to a marine casualty
 7   investigation may request designation. See Coast Guard Investigation (CG-INV)
 8   Policy Letter, p. 2, (Jan. 14, 2014). PII
 9         126.    In or around late October 2021, Plaintiff became aware of the BEIJING’s
10   potential connection to the Amplify Oil Spill vis-à-vis the Heavy Wind Event through
11   the media.
12         127. Plaintiff also learned through the media that the owner of the other vessel
13   potentially connected with the Amplify Oil Spill vis-à-vis the Heavy Wind Event had
14   been designated as a PII.
15         128. Considering the foregoing, Plaintiff requested that the Coast Guard
16   designate it as a PII so it could defend its interests by participating meaningfully in the
17   agency’s investigation.
18         129. On or about November 17, 2021, the Coast Guard granted the request of
19   Plaintiff to be designated as a PII.
20                3.     The Amplify Defendants’ PII Status Made Them Privy to
21                       Information Which Contradicts Their Verified Allegations Prior
22                       to Filing the Verified Amplify Complaint.
23         130. Again, the Amplify Defendants were designated as PIIs to the Coast
24   Guard’s investigation prior to them, perhaps as soon as early October 2021.
25         131. As such, Plaintiff is informed and believes that the Amplify Defendants
26   obtained, on or around that time and certainly prior to the February 28, 2022 filing of
27   the Verified Amplify Complaint, access to data and information which establishes
28   allegations in that verified pleading were, in fact, not true.
                                                 - 27 -
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 1           132. This data and information includes an audio and video playback from VTS
 2   LA/LB’s console from approximately 3:00 a.m. to 6:00 a.m. (local) on January 25,
 3   2021.
 4           133. In the audio playback of VTS LA/LB’s console, the BEIJING is heard
 5   confirming to VTS LA/LB at approximately 4:03 a.m. (local) that it was “dragging
 6   anchor.” (See supra § IV.D.6.)
 7           134. Notwithstanding having access to this data and information for several
 8   months prior to filing the Verified Amplify Complaint, the Amplify Defendants
 9   nevertheless frequently allege that the BEIJING did not report its anchor-dragging.
10   (See e.g., Amplify Complaint, ¶ 96.)
11                 4.     The Amplify Defendants Grossly and Improperly Characterize
12                        the Conduct of the BEIJING’S Crew During the Pendency of
13                        the Coast Guard’s Investigation
14           135. Finally, in the Verified Amplify Complaint, the Amplify Defendants
15   repeatedly and improperly suggest Plaintiff is liable because one of the BEIJING’s
16   crew members “fled the country during the Coast Guard’s investigation. (See e.g.,
17   Verified Amplify Complaint, Introduction, p. 5, ll. 9 – 10.)
18           136. This is patently false. As an initial matter, no representative of any of the
19   Amplify Defendants participated in the Coast Guard’s investigation of the BEIJING.
20           137. Furthermore, the crew member in question was scheduled to disembark the
21   BEIJING when it called at Long Beach in late November 2021. This was only after the
22   crew member’s contract aboard the Vessel had been extended due to COVID-19 related
23   manning issues.
24           138. By the time the crew member disembarked the BEIJING at Long Beach,
25   he had been at sea for almost a year.
26           139. More importantly, prior to disembarking the Vessel, the crew member sat
27   for interviews with the Coast Guard, State of California, and local authorities. He did
28   not flee the United States.
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 1         H.     LITIGATION ARISING FROM THE AMPLIFY SPILL
 2                1.     Gutierrez, et al. v. Amplify Energy Corp., et. al., Case No. 8:21-
 3                       cv-01628-DOC-JDE
 4         140. On January 28, 2022, the Class Action Plaintiffs asserted claims when they
 5   filed their Consolidated Class Action Complaint in the Gutierrez Case, naming, among
 6   others, Plaintiff as a defendant.
 7         141. On or about April 21, 2022, the Class Action Plaintiffs filed the Gutierrez
 8   FAC naming, among others, Plaintiff and the Vessel, in rem, as defendants.
 9         142. With the Gutierrez FAC, which asserts exclusively California state law,
10   tort-based claims against Plaintiff, the Class Action Plaintiffs seek an unspecified
11   amount of recovery.
12         143. However, Plaintiff is informed and believes that the amount sought may be
13   in the hundreds of millions of dollars.
14                2.     The Amplify Defendants’ Third-Party Action in the Gutierrez
15                       Case
16         144. On February 28, 2022, the Amplify Defendants filed the Verified Amplify
17   Complaint in the Gutierrez Case naming, among others, Plaintiff as a third-party
18   defendant.
19         145. The Verified Amplify Complaint seeks contribution for removal costs and
20   damages under OPA, but also asserts non-OPA claims for damages associated with the
21   loss of revenue and damage to the Pipeline.
22         146. The Verified Amplify Complaint does not provide a specified sum of its
23   alleged damages sought against Plaintiff.
24         147. However, Plaintiff is informed and believes that the amount sought by the
25   Amplify Defendants may also potentially be in the hundreds of millions of dollars.
26   ///
27
28
                                                 - 29 -
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 1   V.    DEMAND FOR EXONERATION FROM OR IN THE ALTERNATIVE,
 2          LIMITATION OF LIABILITY
 3          A.    FACTS AND BASIS GIVING RISE TO EXONERATION OF
 4                PLAINTIFF
 5          148. Paragraphs 1 through 147 above are incorporated by reference as though
 6   fully stated herein.
 7          149. Under the Limitation of Liability Act of 1851, a vessel owner is entitled to
 8   exoneration if the owner, the vessel, and the crew are shown to be free of fault.
 9   Northern Fishing & Trading Co., Inc. v. Grabowski, 477 F.2d 1267, 1272 (9th
10   Cir.1973) (“The whole doctrine of limitations of liability presupposes that a liability
11   exists which is to be limited. If no liability exists there is nothing to limit.”); see also
12   Matter of Hechinger, 890 F.2d 202, 207 (9th Cir. 1989).
13          150. The applicable standard of care under U.S. general maritime law stems
14   from traditional concepts of prudent seamanship, reasonable care, observance of
15   statutory and administrative rules, and recognized customs and uses.
16          151. At all relevant times, the BEIJING was in all respects seaworthy, and
17   Plaintiff, the Master, and the Vessel’s crew acted with due care, free of any negligence
18   or fault.
19          152. While waiting to enter port, the primary duty of a cargo vessel like the
20   BEIJING is to follow the lawful orders and directions of VTS.
21          153. In the instant case, the Vessel was on a voyage to deliver cargo to the Port
22   of Long Beach, California and arrived within VTS LA/LB’s area of responsibility on
23   January 23, 2021. Due to unprecedented port congestion, VTS LA/LB instructed the
24   Vessel to anchor in federal waters of the United States, and more specifically at the SF-
25   12 contingency anchorage within San Pedro Bay.
26          154. The Vessel followed all mandates and orders of VTS LA/LB and was not
27   at any time in violation of any statutory or administrative rule.
28          155. In the instant case there is no evidence of a breach of any duty by the
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 1   Vessel.
 2         156.   There is no evidence that any action by Plaintiff played any causal role in
 3   the Amplify Oil Spill.
 4         157. There is no evidence that any action by the BEIJING played any causal
 5   role in the Amplify Oil Spill.
 6         158. There is no evidence that the BEIJING’s anchor contacted the Pipeline on
 7   January 25, 2021.
 8         159. The Class Action Plaintiffs and Amplify Defendants acknowledge that
 9   their claims against the BEIJING and Plaintiff lack evidence of physical contact; each
10   of their respective claims are purely conjectural based only on “information and belief.”
11         160. Critically, the closest the BEIJING came to the Pipeline Crack Location on
12   January 25, 2021, was approximately 210 meters.
13         161. Even if the BEIJING’s anchor came into contact with the Pipeline on
14   January 25, 2021, which is denied, Class Action Plaintiffs and Amplify Defendants do
15   not and cannot demonstrate that such contact was the proximate cause of the crack
16   found on the Pipeline which is the source of the Amplify Oil Spill over eight (8) months
17   later. This time discrepancy undermines and negates any possibility that contact
18   between the BEIJING’s anchor and the Pipeline played any causal role in the Amplify
19   Oil Spill and ignores other possibilities including other heavy weather or high wind
20   events in which other vessels may have dragged or dropped anchor as well as the
21   effects of subsurface currents and seismic activity.
22         162. Moreover, even if the BEIJING’s anchor came into contact with and
23   damaged the Pipeline, the BEIJING’s actions taken to maintain position and station
24   keeping were performed in the course of good seamanship and prudent conduct in order
25   to avoid collision with other ships, avoid prejudice to the safe navigation of those ships,
26   and to keep itself, its cargo, and its crew safe, and doing so was reasonable under the
27   circumstances.
28         163. The BEIJING owed no duty to advise the Amplify Defendants that it
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 1   passed one hundred feet above the supposed location of the Pipeline as this was plainly
 2   known, reported to, and acknowledged by VTS LA/LB.
 3         164. Thus, Plaintiff is free of fault and entitled to exoneration from liability.
 4         165. Even if Plaintiff was not free of fault, it is entitled to exoneration because
 5   the Amplify Oil Spill was proximately caused by the negligence, in whole or in part,
 6   superseding and/or intervening, or in some combination thereof, of the Amplify
 7   Defendants and/or other third parties for which Plaintiff is not liable.
 8         166. The Amplify Defendants failed to act reasonably when failing to timely
 9   shut down pumping operations and investigate the cause of no less than 8 low pressure
10   alarms and automated leak detection features over the course of a 14-hour period. The
11   alarms alerted them to the Amplify Oil Spill, and reasonably prudent operators would
12   have stopped pumping oil into the Pipeline thereby substantially minimizing any
13   damage. Even after the Amplify Oil Spill was discovered, Beta Offshore’s supervisors
14   and the other Amplify Defendants inexplicably delayed reporting it for nearly three
15   hours, in contravention of law and their own written policies and procedures.
16         167. Accordingly, because the actions and/or omissions of Captanissa, if any,
17   are not the proximate cause of the Amplify Oil Spill, Plaintiff is still entitled to, and
18   hereby demands, full exoneration.
19         B.     FACTS AND BASIS GIVING RISE TO LIMITATION OF
20                PLAINTIFF’S LIABILITY
21         168. Paragraphs 1 through 167 above are incorporated by reference as though
22   fully stated herein.
23         169. A claimant against Plaintiff and the BEIJING in the instant case must
24   demonstrate (1) a duty owed; (2) breach of that duty; (3) injury; and (4) a causal
25   connection (proximate cause) between the breach and the injury.
26         170. While not in any manner admitting liability for any injuries or damages
27   which any claimant or representative might allege they have suffered, and hereby
28   expressing its desire to contest liability, Plaintiff desires first to be completely
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 1   exonerated from any and all such claims, and, if not so exonerated, in the alternative, to
 2   limit it liability, if any, for any and all said claims, to all claimants, to a maximum of
 3   liability equivalent to Plaintiff’s interest in the BEIJING and pending freight, at the
 4   termination of Voyage 084E.
 5         171. Plaintiff hereby claims the benefits of exoneration from, or limitation of,
 6   liability provided for in the Limitation Act, as amended and supplemented by the rules
 7   governing admiralty proceedings in this Court. Plaintiff also claims the benefit of any
 8   other act and/or statute of the United States to which it may be entitled.
 9         172. In furtherance of limitation, Plaintiff asserts that the voyage (No. 084E) on
10   which the said alleged allision occurred and upon which the Class Action Plaintiffs and
11   Amplify Defendants initiated claims, demands and proceedings sought to be limited,
12   began in Xiamen, China on January 6, 2021, upon the Vessel’s departure, and was
13   terminated in Long Beach, California on or about February 8, 2021, upon conclusion of
14   cargo discharge operations and departure from Long Beach.
15         173. As evidenced by the attached Declaration of Glen R. Piper Regarding
16   Vessel Value, the value of the Vessel on the Voyage End Date was $38,000,000.
17   Attached hereto as Exhibit “1” is a true and correct copy of Mr. Piper’s Declaration.
18         174. As evidenced by the attached Declaration of John Harry Webster
19   Regarding Then-Pending Freight Value, the value of the pending freight on the Voyage
20   End Date was $537,200. Attached hereto as Exhibit “2” is a true and correct copy of
21   Mr. Webster’s Declaration.
22         175. Based Mr. Piper’s and Mr. Webster’s Declarations, Plaintiff is therefore
23   informed and believes, and alleges that the total value of the Vessel and its pending
24   freight upon the termination of Voyage 084E was $38,537,200.
25         176. Plaintiff is informed and believes that the amount of estimated damages
26   alleged against them and the BEIJING is in the hundreds of millions of dollars and will
27   exceed the value of Plaintiffs’ interests in the BEIJING and then-pending freight at the
28   Voyage End Date.
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 1            177. Plaintiff contemporaneously files herewith an Ad Interim Stipulation of
 2   Value, in the form of a Letter of Undertaking issued by The Swedish Club, for its
 3   interest in the Vessel plus the freight pending at the Voyage End Date, with interest at
 4   the legal rate of six percent (6%) per annum, plus security for costs in the amount of
 5   $1,000, as required by LAR 83-F.1, or whichever amount may later be ordered by this
 6   Court.
 7            178. Upon information and belief, there are no actions or proceedings pending
 8   in contract arising from the Amplify Oil Spill.
 9            179. Plaintiff is informed and believes that no vessel arrest or attachment has
10   been filed against the Vessel.
11            180. The Amplify Defendants and one other shipping group asserted maritime
12   liens based in tort against the Vessel for which they have accepted security in the
13   amount of $68 Million which by operation of law and terms would be subsumed and/or
14   extinguished in this Action.
15            181. Plaintiff has a good faith basis and grounds to believe that in addition to
16   the claims asserted in the Gutierrez FAC and the Verified Amplify Complaint, other
17   claims will be made, and that suits or actions will be commenced against them by
18   persons or entities claiming to have sustained damages as a result of the Amplify Oil
19   Spill in amounts, when taken in the aggregate, exceed the total sum of the value of the
20   BEIJING and then-pending freight which without the protection of appropriate
21   limitation law, Plaintiff may be required to pay.
22            182. The Vessel remains in operation, and has not been damaged, lost or
23   abandoned. The incidents and events alleged in the Gutierrez FAC and the Verified
24   Amplify Complaint, and any consequent injuries or damages resulting therefrom, were
25   done, occasioned, and incurred without any unseaworthiness of the Vessel.
26            183. At all relevant times, due diligence was exercised to make the BEIJING in
27   all respects seaworthy and properly manned, equipped and supplied.
28            184. The incidents and events alleged in the Gutierrez FAC and the Verified
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 1   Amplify Complaint, and any consequent injuries or damages resulting therefrom, were
 2   done, occasioned, and incurred without the privity or knowledge of Plaintiff, or anyone
 3   for whom it may be responsible, at or prior to commencement of the above-described
 4   Voyage.
 5          185. The aforementioned damages were not caused or contributed to by any
 6   fault or neglect on the part of Plaintiff, and any consequent injuries or damages,
 7   resulting therefrom, were solely and proximately caused by the fault and/or neglect of
 8   others, including, but not limited to, the Amplify Defendants and any and all
 9   claimant(s) who may have failed to avoid and/or mitigate their damages.
10          186. Plaintiff alleges that it has valid, absolute and complete defenses to any
11   and all alleged liability arising out of the Amplify Oil Spill on the facts and under
12   maritime and admiralty law.
13          187. Plaintiff reserves its rights pursuant to Federal Rules of Civil Procedure,
14   Rule 15 to amend and supplement its Complaint as the Court and justice so requires.
15   VI.    PRAYER FOR RELIEF
16          WHEREFORE, Plaintiff prays:
17          1.     That the Court enter an order approving the aforementioned Ad Interim
18   Stipulation of Value deposited with the Court by Plaintiff as security for the amount or
19   value of their interests in the Vessel and then-pending freight.
20          2.     That the Court, upon issuance of a monition, enter an order staying and
21   restraining the prosecution of any and all suits against Plaintiff and/or the Vessel which
22   may have already been commenced by any person or entity to recover damages as a
23   result of the Amplify Oil Spill, and for which this Complaint seeks exoneration from or
24   limitation of liability, and retraining the commencement and prosecution of any
25   additional or unknown lawsuits, whether new or old, or any legal proceeding
26   whatsoever, against Plaintiff and/or the Vessel, with respect to any claims arising from
27   the Amplify Oil Spill and for which this Complaint seeks exoneration from or
28   limitation of liability;
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 1          3.     That the Court enter an order directing the issuance of a formal notice in
 2   the form of a monition to all persons asserting claims against Plaintiff and/or the Vessel
 3   with respect to the Amplify Oil Spill and for which this Complaint seeks exoneration
 4   from, or limitation of, liability, admonishing and instructing them to file their respective
 5   claims with the Clerk of this Court, to serve a copy of the same on counsel for Plaintiff,
 6   and to appear and answer the allegations of this Complaint, on or before a date to be
 7   fixed by the Court in the order;
 8          4.     That the Court enter an order directing the execution of the monition and
 9   publication of the same in such newspaper as the Court may direct, once a week, for
10   four (4) consecutive, successive weeks prior to the date fixed by the Court for the filing
11   of such claims, all as provided for in the law and by Rule F(4) of the Federal Rules of
12   Civil Procedure, Supplemental Rules for Certain Admiralty and Maritime Claims;
13          5.     That the Court permit Plaintiff to contest its liability, if any, for all injuries
14   and/or damages arising out of the Amplify Oil Spill and for which this Complaint seeks
15   exoneration from or limitation of liability and that this Court in this proceeding adjudge
16   that Plaintiff and the Vessel are to be completely exonerated from liability arising out of
17   the Amplify Oil Spill and for which this Complaint seeks exoneration from or
18   limitation of liability;
19          6.     In the event it is found by this Court that liability exists on the part of
20   Plaintiff and/or the Vessel, by reason of the injuries and damages to any claimant, then
21   the Court, in this proceeding, adjudge that such liability shall in no case exceed the
22   amount of the value of Plaintiff’s interest in the BEIJING and pending freight on the
23   Voyage End Date; and
24   ///
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28   ///
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 1         7.    That Plaintiff receives such other and further relief as the Court may deem
 2   just and proper under the circumstances.
 3
 4   DATED: May 20, 2022                   /s/ Albert E. Peacock, III
                                           ALBERT E. PEACOCK III
 5                                         GLEN R. PIPER
 6                                         DAVID A. TONG
                                           MARGARET STANDO
 7                                         PEACOCK PIPER TONG + VOSS LLP
 8                                         Attorneys for Plaintiff,
                                           CAPETANISSA MARITIME CORPORATION
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                EXHIBIT “1”
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 1   ALBERT E. PEACOCK III, CASB No. 134094
 2   apeacock@peacockpiper.com
     GLEN R. PIPER, CASB No. 204023
 3   gpiper@peacockpiper.com
 4   DAVID A. TONG, CASB No. 238971
     dtong@peacockpiper.com
 5   MARGARET STANDO, CASB No. 343038
 6   mstando@peacockpiper.com
     PEACOCK PIPER TONG + VOSS LLP
 7   100 W. Broadway, Suite 610
 8   Long Beach, CA 90802
     Telephone: (562) 320-8880
 9   Facsimile: (562) 735-3950
10
11
12                             UNITED STATES DISTRICT COURT
13           CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
14
     In re the Matter of the Complaint of               Case No.
15   CAPETANISSA MARITIME                               Action Filed: MAY 20, 2022
16   CORPORATION, Owner, of the Motor
     Vessel BEIJING, and its engines, tackle,           DECLARATION OF GLEN R.
17   apparel, and appurtenances, for Exoneration        PIPER REGARDING VESSEL
18   from, or Limitation of, Liability,                 VALUE FOR PURPOSES OF
                                                        LIMITATION OF LIABILITY
19                Plaintiff,
20                                                      IN ADMIRALTY
21   I, GLEN R. PIPER, declare as follows:
22         1.     I am an attorney licensed to practice before all of the State and Federal
23   Courts of California. I am a partner with the law firm Peacock Piper Tong + Voss LLP,
24   counsel for Plaintiff Capetanissa Maritime Corporation (hereinafter “Capetanissa”) in
25   the above-entitled action.
26         2.     I submit this declaration in support of Capetanissa’s Complaint in an
27   action for exoneration from, or in the alternative, limitation of liability, either civil or
28   maritime, pursuant to the Limitation of Liability Act of 1851, 46 U.S.C. §§30501, et.
                                  -1-
       DECLARATION OF GLEN R. PIPER REGARDING VESSEL VALUE FOR
                PURPOSES OF LIMITATION OF LIABILITY
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 1   seq. (hereinafter “Limitation Action”). Unless stated otherwise, this declaration is
 2   based upon my personal knowledge. As to those matters stated upon information and
 3   belief, I believe them to be true.
 4         3.     In support of Capetanissa’s Limitation Action, I sought two valuations for
 5   the vessel M/V BEIJING (hereinafter “BEIJING”) from specialists in the sale,
 6   purchase, finance, construction and appraisals of vessels.
 7         4.     The BEIJING is a diesel-powered container vessel with an approximate
 8   gross tonnage of 109,149, registered under the laws of Malta, and bearing International
 9   Maritime Organization (IMO) number IMO 9308508.
10         5.     I am informed and believe that the voyage at issue, known as “Voyage
11   084E” (hereinafter, the “Voyage”) ended when the BEIJING departed the Port of Long
12   Beach upon the completion of cargo operations and it began a new voyage to China on
13   8 February 2021, thus terminating the Voyage on 8 February 2021 (hereinafter the
14   “Voyage End Date”).
15         6.     On behalf of Capetanissa, as Owner of the BEIJING, my firm retained and
16   requested independent vessel valuations from Compass Maritime Services, LLC
17   (“Compass”) and Jacq Pierot Jr. & Sons Inc. (“Pierot”) for purposes of determining
18   Capetanissa’s interest in the BEIJING on the Voyage End Date of February 8, 2021.
19   Compass and Pierot are recognized experts in providing vessel valuations and have
20   extensive experience in appraising vessels on behalf of vessel owners, buyers, banking
21   institutions, investors and lenders.
22         7.     I am informed and believe that Compass was established in 2000 and is
23   based in the United States. I am further informed and believe it has an extensive record
24   of appraising vessels and shipping assets on behalf of ship-owners and operators,
25   attorneys and financial institutions (including commercial lenders, equity investors,
26   leasing companies, etc.). In addition to acting as brokers for the purchase and sale of
27   ships and offshore vessels, I am informed and believe Compass provides hundreds of
28   ship valuations each year and its brokers have provided testimony in United States
                                  -2-
       DECLARATION OF GLEN R. PIPER REGARDING VESSEL VALUE FOR
                PURPOSES OF LIMITATION OF LIABILITY
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 1   courts and legal proceedings regarding vessel valuations. Compass is one of ten
 2   worldwide panel members on the Baltic Exchange Sale & Purchase Assessment Panel
 3   (BSPA) and one of six panel members of the Baltic Exchange Demolition Assessment
 4   Panel (BDA). (See: https://compassmar.com/Compass_Maritime_Ships_Valuations
 5   .html).
 6          8.     I am informed and believe that Pierot was originally founded in 1894 in
 7   Rotterdam, Netherlands and later relocated to New York City in the late 1940’s where
 8   it currently maintains its offices. I am further informed and believe that Pierot is
 9   recognized as one of the industry’s leading appraisers of vessels, retained for such
10   services by ship owners, foreign and domestic government agencies (including the
11   Department of Transportation/Maritime Administration (MARAD), the Military Sealift
12   Command/U.S. Navy (MSC)), domestic and foreign banks, leasing and insurance
13   companies, and other institutions connected to the maritime industry. I am informed
14   and believe that Pierot brokers have testified before admiralty and civil courts, both in
15   the United States and abroad and are one of the four founding members (and the only
16   non-European representative) of the International Ship Valuation Panel (ISVP). (See:
17   https://www.pierotshipping.com/valuations).
18          9.     I am informed and believe that to determine the BEIJING’s value on the
19   Voyage End Date, Compass and Pierot independently considered, among other things,
20   the year the BEIJING was built, the location where it was built, her type as a container
21   vessel, size, Twenty-foot Equivalent Unit (TEU) capacity, her sound and seaworthy
22   condition, the vessel market at the point in time of the valuation, other vessel sales and
23   its classification society status.
24          10.    After completing its analysis which included, but was not limited to those
25   items outlined above, Compass concluded the BEIJING’s value on the Voyage End
26   Date was Thirty-Six Million U.S. Dollars ($36,000,000) and it provided a Valuation
27   Certificate in support of this valuation. Attached hereto as Exhibit “A” is a true and
28   correct copy of the Valuation Certificate issued by Compass for the BEIJING as of the
                                  -3-
       DECLARATION OF GLEN R. PIPER REGARDING VESSEL VALUE FOR
                PURPOSES OF LIMITATION OF LIABILITY
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 1   Voyage End Date on February 8, 2021.
 2         11.    After completing its analysis which included, but was not limited to, those
 3   items outlined above, Pierot concluded the BEIJING’s value on the Voyage End Date
 4   was Forty Million U.S. Dollars ($40,000,000) and it provided a Valuation Certificate in
 5   support of this valuation. Attached hereto as Exhibit “B” is a true and correct copy of
 6   the Valuation Certificate issued by Pierot for the BEIJING as of the Voyage End Date
 7   on February 8, 2021.
 8         12.    Based on the above Valuation Certificates issued by these two independent
 9   entities with expertise in adjudging the present and historic value of vessels, Plaintiff
10   suggests that the average of the two valuations provides the reasonable value of the
11   BEIJING on the Voyage End Date of February 8, 2021 at Thirty-Eight Million U.S.
12   Dollars ($38,000,000).
13
14         I declare under penalty of perjury of the laws of the United States that the
15   foregoing is true and correct to the best of my knowledge.
16
17         Executed on this 20th day of May 2022, in Long Beach, California.
18
19                                           __________________________
20                                           GLEN R. PIPER

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                                  -4-
       DECLARATION OF GLEN R. PIPER REGARDING VESSEL VALUE FOR
                PURPOSES OF LIMITATION OF LIABILITY
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               EXHIBIT “A”
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                                      INDEPENDENT VALUATION REPORT

                    May 18, 2022

                    Valuation of mv “BEIJING”


                    To the attention of:

                    Peacock Piper Tong & Voss LLP
                    100 West Broadway Suite 610,
                    Long Beach, CA 90802

                                      COMPASS MARITIME - Valuation Credentials
                    The Compass Maritime Services brokerage team has an extensive record of appraising
                    vessels and shipping assets on behalf of ship owners and operators, banks and financial
                    institutions, attorneys, and insurance companies throughout the world. In addition to
                    acting as brokers for the buying and selling of ships and offshore vessels, the team
                    provides hundreds of ship valuations each year to its clients.
                    Compass Maritime is one of ten worldwide panel members on the Baltic Exchange Sale
                    & Purchase Assessment Panel (BSPA) and one of six panel members of the Baltic
                    Exchange Demolition Assessment Panel (BDA). Compass Maritime’s weekly data is
                    included in the calculation of the respective Baltic Exchange ship valuation indices.
                    Valuations by Compass Maritime have been utilized in the prospectuses for the Initial
                    Public Offerings (IPO) in the stock exchanges in the United States and overseas, annual
                    reports of publicly traded companies, in the issuing of equity and debt (bonds), including
                    valuations based on the Pfandbrief Act in Germany.
                    Compass Maritime provides the following types of vessel valuations:
                       • Market Approach (basis prompt, charter-free delivery)
                       • Income Approach. Our income approach valuation can entail detailed financial
                        modeling on the calculation of future vessel earnings, calculation of discount rate
                        & Weighted Average Cost of Capital (WACC) – even in cases that the interest
                        expense is tied to LIBOR rates, and modeling on vessel residual values including
                        statistical and VAR analysis.
                       • Replacement Cost Method
                       • Discounted Cash Flow Analysis (DCF)
                       • Long Term Asset Value (LTAV) under Hamburg Shipbrokers Association Rules


                       To obtain a valuation, please contact valuations@compassmar.com




                                                                                                     Page | 1
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                               DESKTOP VALUATION CERTIFICATE

                    We would estimate fair market value as of February 8, 2021 as follows:


                    mv “BEIJING”
                    ------------------------
                    Malta flag Neo-Panamax Containership
                    Deadweight: 107,503 mts on 15 m draft
                    Built in 2006 at Hyundai Heavy Industries in Korea
                    Class: DNV
                    IMO: 9308508
                    Gross: 109,149 / Net: 52,743
                    LOA: 350.55 m - Breadth 42.87 m - Depth 27.3 m
                    TEU: 9,469
                    Cargo Handling: 700 Reefer Plugs
                    Main engine: MAN-B&W 12K98MC 101,644 BHP
                    Generators: 2,3
                    LDT: 36,973 MT


                    (Details given in good faith but without guarantee)

                    ========================================================
                    FAIR MARKET VALUE as of February 8, 2021: $ 36,000,000
                    (Thirty-six million United States dollars)
                    ========================================================




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                                       IMPORTANT DISCLAIMER

                  The valuation takes into consideration the Market, Income, & Cost approaches to
                  value. That is to say, we will review the current and potential earnings of the
                  vessel as well as the costs of replacing the asset. Under certain circumstances,
                  there is a wide spread between a willing buyer's "bid" and a willing seller's "ask".
                  In these instances, we will weigh the different valuation approaches described
                  above differently. The specific weighting will vary depending on the current
                  market conditions and trends and the reliability and applicability of each
                  approach at that time. It must be noted that the value of vessels can change very
                  quickly and dramatically depending on the prevailing market conditions.

                  The valuation is valid only on the date first written above. No assurances can be
                  given that the valuation will be sustained or is realizable in an actual transaction.
                  COMPASS MARITIME SERVICES, LLC assumes that the vessel has been
                  maintained in accordance with good commercial practice and is in class, in good
                  working order, with all necessary trading certificates for world-wide trading, with
                  her hull, machinery and equipment in a condition to be expected of a vessel of her
                  age and type, in fair survey position and prepared for prompt charter free delivery
                  in a commercial loading zone and free of any encumbrances, mortgages, liens,
                  debts or claims whatsoever.

                  Neither COMPASS MARITIME SERVICES, LLC, nor the individual making
                  the evaluation has inspected the vessel, her position of records or made any other
                  independent inspection, investigation or examination whatsoever with respect to
                  the vessel. Any interested party should conduct an independent inspection and
                  investigation of the facts concerning the vessel. No one should rely on this value
                  as a substitute for their own due diligence.

                  The evaluation is provided solely for the use of the persons to whom it is
                  addressed. The value is to be used only for the specific purposes stated and any
                  other use is invalid. No reliance may be made by any third party without our prior
                  written consent.

                  COMPASS MARITIME SERVICES, LLC
                  ========================================================
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               EXHIBIT “B”
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                EXHIBIT “2”
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 1   ALBERT E. PEACOCK III, CASB No. 134094
 2   apeacock@peacockpiper.com
     GLEN R. PIPER, CASB No. 204023
 3   gpiper@peacockpiper.com
 4   DAVID A. TONG, CASB No. 238971
     dtong@peacockpiper.com
 5   MARGARET STANDO, CASB No. 343038
 6   mstando@peacockpiper.com
     PEACOCK PIPER TONG+ VOSS LLP
 7   100 W. Broadway, Suite 610
 8   Long Beach, CA 90802
     Telephone: (562) 320-8880
 9   Facsimile: (562) 735-3950
10
     Attorneys for Plaintiff,
ll   CAPETANISSA MARITIME CORPORATION
12
                              UNITED STATES DISTRICT COURT
13
14         CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
15   In re the Matter of the Complaint of          Case No.
16   CAPETANISSA MARITIME                          Action Filed: May 20, 2022
     CORPORATION, Owner of the Motor
17   Vessel BEIJING, and its engines, tackle,
18   apparel, and appurtenances, for Exoneration   DECLARATION OF JOHN HARRY
     from, or Limitation of, Liability,            WEBSTER IN SUPPORT OF THE
19                                                 THEN-PENDING FREIGHT
20               Plaintiff.                        VALUE AND CAPETANISSA
                                                   MARITIME CORPORATION'S
21                                                 COMPLAINT FOR
22                                                 EXONERATION FROM, OR
                                                   LIMITATION OF, LIABILITY
23
24                                                 IN ADMIRALTY
25
26
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